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UNITED STATES DISTRICT COURT

WESTERN DISTRICT OF TEXAS
AUSTIN DIVISION
UNITED STATES OF AMERICA §
§
VS. § CRIMINAL NO.
§ 1:21-CR-00048-LY-4
CRAIG NEELY §

MOTION TO WITHDRAW AS COUNSEL
TO THE HONORABLE JUDGE OF SAID COURT:

NOW COMES, Charles Popper, the attorney of record for the defendant set forth
in the style above who would file this Motion to Withdraw as Counsel in the present
cause, and show unto the Court as follows:

L.

We found a conflict with two co-defendants in this case that we did not initially
notice. Due to the these reasons, the cumulative situation has reduced the ability of
present counsel to provide adequate representation to the Defendant, and renders an
ongoing attorney/client relationship difficult if not impossible, in derogation of
Defendant’s rights under the Sixth and Fourteenth Amendments to the United State
Constitution, Article I, Section 10 of the Texas Constitution, and Articles 10.5 and 1.051
of the Texas Code of Criminal Procedure.

II.
The granting of the Motion to Withdraw will not jeopardize the rights of the

Defendant, and will not work a delay or other injustice.
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WHEREFORE, PREMISES CONSIDERED, Movant prays that this Honorable
Court allow the withdrawal of counsel, and that present counsel be released from further
obligation or duty to the Defendant as Attorney of Record.

Respectfully submitted,

Charles Popper
“Attorney for Defendant
1205 San Antonio Street
Austin, TX 78701
Telephone: 512-477-7111
Telecopy: 512-477-6889
State Bar No. 00795856

CERTIFICATE OF SERVICE

As Attorney of Record for Defendant, I do hereby certify that a true and correct
copy of the above and foregoing document was forwarded to the Attorney for the State

on the 17 day of May, 2021.
Attomasy for Defendan)

 

Accepted by:

 

Daniel D. Guess
Assistant United States Attorney
dan.guess@usdoj.gov
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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF TEXAS

AUSTIN DIVISION
UNITED STATES OF AMERICA §
§
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ORDER PERMITTING WITHDRAWAL AS ATTORNEY OF RECORD

On this the _———s day _ of May, 2021, came on to be heard the Motion of
CHARLES POPPER as Attorney of Record in the above and foregoing cause, that said
Attorney be allowed to withdraw.

After consideration of the same, and being satisfied that no harm will be done to
the rights of the Defendant, the same is GRANTED, and it is therefore;

ORDERED, ADJUDGED AND DECREED, that the said Attorney CHARLES
POPPER, shall be allowed to withdraw as counsel, and is hereby relieved of any further
duty, obligation, or responsibility to Defendant herein:

SIGNED and ENTERED this day of May, 2021.

 

JUDGE PRESIDING
